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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________

CLETA MITCHELL                               )
                                             )
                   Plaintiff,                )
            v.                               )
                                             )                  Civil Action 1:22-cv-00250-CJN
U.S. HOUSE OF REPRESENTATIVES                )
SELECT COMMITTEE TO INVESTIGATE              )
THE JANUARY 6 ATTACK ON THE
                TH                           )
UNITED STATES CAPITOL, et al.                )
                                             )
                   Defendants.               )
_____________________________________________)
                            NOTICE OF VOLUNTARY DISMISSAL
                             PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

        Pursuant to F.R.C.P. 41(a)(1)(A)(ii), and due to the withdrawal by the Chairman of the

House Select Committee to Investigate the January 6th Attack on the U.S. Capitol of the

subpoena issued to AT&T for cellular records associated with Plaintiff's telephone number and

account, the parties hereby agree and stipulate to a voluntary dismissal of this action without

prejudice. The parties further agree and stipulate that they each will bear their own costs and

legal fees incurred in this case.

December 12, 2022                         Respectfully submitted,

                                          JPROWLEY LAW PLLC

                                    By:      /s/ John P. Rowley III__
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                                      E&W LAW, LLC

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                                      Counsel for Plaintiff Cleta Mitchell


                                      OFFICE OF GENERAL COUNSEL
                                      U.S. HOUSE OF REPRESENTATIVES


                                By:       /s/ Douglas N. Letter______________
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                                      Douglas.Letter@mail.house.gov

                                      Counsel for Defendants




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of December 2022 a copy of the foregoing

Motion was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                                /s/ John P. Rowley III______________
                                             John P. Rowley III (D.C. Bar No. 392629)


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